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           NOTE: This order is nonprecedential.


   United States Court of Appeals
       for the Federal Circuit
                  ______________________

      TAU-KEN TEMIR LLP, JSC NMC TAU-KEN
        SAMRUK, MINISTRY OF TRADE AND
       INTEGRATION OF THE REPUBLIC OF
                 KAZAKHSTAN,
               Plaintiffs-Appellants

                             v.

   UNITED STATES, GLOBE SPECIALTY METALS,
        INC., MISSISSIPPI SILICON LLC,
               Defendants-Appellees
              ______________________

                        2022-2204
                  ______________________

    Appeal from the United States Court of International
 Trade in No. 1:21-cv-00173-LMG, Senior Judge Leo M.
 Gordon.
                 ______________________

                      ON MOTION
                  ______________________

                         ORDER
     Appellants move to increase the word count for their
 reply brief “from 7000 words to 14,000; or, failing that, to
 10,135 words.” ECF No. 71-1 at 1. Appellants state that
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 2                                   TAU-KEN TEMIR LLP v. US




 the United States does not oppose the motion. The other
 appellees oppose. Appellants reply.
     Upon consideration thereof,
     IT IS ORDERED THAT:
     The motion, ECF No. 71, is granted to the extent that
 appellants’ reply brief, not to exceed 10,135 words, is due
 no later than 21 days from the date of entry of this order.
                                             FOR THE COURT




 December 27, 2023
      Date
